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 8
                                  UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN FRANCISCO DIVISION
11
     JOHN BRITTON, EVA JACINTO, CELESTE               Case No. 3:22-cv-03053-TLT
12   FELICE, GLENDA DILLON, STEPHEN
     GEARHART, PATRICIA JONES, MELISSA                STIPULATION AND [PROPOSED] ORDER
13   WARREN, NICOLE SENKPEIL, ENIKO                   RE STIPULATED ADMINISTRATIVE
     GEDO, JEREMY YOUNG, RHONDA HUNT                  MOTION TO CONFIRM BENCH RULING
14   MUHAMMED, KRISTEN LUIZ, ANTHONY
     RASPANTINI, FRANCINE LEWIS, and
15   MATTHEW KAKOL, on behalf of themselves           Complaint Filed: May 24, 2022
     and all others similarly situated,
16                                                    Hon. Trina L. Thompson
                                        Plaintiffs,
17
                   vs.
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     ARC AUTOMOTIVE, INC., AUDI
19   AKTIENGESELLSCHAFT, AUDI OF
     AMERICA, LLC, BAYERISCHE MOTOREN
20   WERKE AKTIENGESELLSCHAFT, BMW OF
     NORTH AMERICA, LLC, FORD MOTOR
21   COMPANY, GENERAL MOTORS, LLC,
     JOYSON SAFETY SYSTEMS, DR. ING.
22   H.C.F. PORSCHE AG, POSRCHE CARS
     NORTH AMERICA, INC., TOYODA GOSEI
23   NORTH AMERICA, INC., VOLKSWAGEN
     AKTIENGESELLSCHAFT, and
24   VOLKSWAGEN GROUP OF AMERICA, INC.,

25                                    Defendants.

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                         STIPULATION AND [PROPOSED] ORDER ON ADMINISTRATIVE MOTION
                                                              Case No. 3:22-cv-03053-TLT
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 1                                                STIPULATION
 2          Pursuant to L.R. 7-11(a) and 7-12, and as set forth more fully in the Stipulated Administrative
 3   Motion filed concurrently herewith, Plaintiffs John Britton, Eva Jacinto, Celeste Felice, Glenda Dillon,
 4   Stephen Gearhart, Patricia Jones, Melissa Warren, Nicole Senkpeil, Eniko Gedo, Jeremy Young, Rhonda
 5   Hunt Muhammed, Kristen Luiz, Anthony Raspantini, Francine Lewis, and Matthew Kakol (together,
 6   “Plaintiffs”) and Defendants ARC Automotive, Inc., Audi of America, LLC, Ford Motor Company,
 7   General Motors, LLC, Joyson Safety Systems, Toyoda Gosei North America, Inc., Volkswagen Group of
 8   America, Inc., Porsche Cars North America, Inc., and BMW of North America, LLC (together,
 9   “Defendants”) together stipulate that subject to the Court’s approval, all proceedings and deadlines in this
10   case are stayed pending the resolution of the Motion for Transfer of Actions to the Northern District of
11   Georgia and for Consolidation Pursuant to 28 U.S.C. § 1407, pending before the Judicial Panel on
12   Multidistrict Litigation as In re ARC Inflators Products Liability Litigation, MDL No. 3051.
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                                              -1-                 Case No. 3:22-cv-03053-TLT
             Case 3:22-cv-03053-TLT Document 122 Filed 09/06/22 Page 3 of 7



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             Case 3:22-cv-03053-TLT Document 122 Filed 09/06/22 Page 4 of 7



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                Case 3:22-cv-03053-TLT Document 122 Filed 09/06/22 Page 6 of 7



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14                                        ATTORNEY ATTESTATION
               I, Michael D. Leffel, am the ECF User whose ID and password are being used to file this
15
     document. In compliance with Civil L.R. 5-1(h)(3), I hereby attest that all counsel have concurred in this
16
     filing.
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18
                                                   /s/ Michael D. Leffel
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                           STIPULATION AND [PROPOSED] ORDER ON ADMINISTRATIVE MOTION
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 1                                           [PROPOSED] ORDER
 2          Having reviewed the Administrative Motion and Stipulation submitted jointly by the parties, the
 3   Court confirms, consistent with the August 29, 2022, minute order, that all proceedings and deadlines in
 4   this case are stayed pending the resolution of the Motion for Transfer of Actions to the Northern District
 5   of Georgia and for Consolidation Pursuant to 28 U.S.C. § 1407, pending before the Judicial Panel on
 6   Multidistrict Litigation as In re ARC Inflators Products Liability Litigation, MDL No. 3051.
 7          IT IS SO ORDERED.
 8

 9          September 6
     Dated: _______________, 2022                 ______________________________
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                                                                        nna L. Thompson
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                                                  United States District Judge
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                         STIPULATION AND [PROPOSED] ORDER ON ADMINISTRATIVE MOTION
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